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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
       Plaintiff,                                 )
                                                  )
v.                                                ) Case No.: 4:20-cr-00372-RWS
                                                  )
THOMAS JOHN ROWLAND,                              )
                                                  )
        Defendant.                                )



       COMES NOW the Defendant Thomas Rowland, by and through his counsel and now

herewith seeks an Order of this Court granting leave to file Motion to File Under Seal and in

support thereof states as follows:

       1. Defendant seeks to file certain privileged and confidential medical records and

           corresponding materials which are not ordinarily available to the public.

       2. The undersigned asserts that the Government has no objection to the instant Motion

           as the aforedescribed materials have previously been provided to the Government.

       3. Accordingly, the Defendant now seeks an Order of the Court granting leave to file

           under seal and more specifically an Order permanently sealing in a non-redacted form

           the materials more fully described in the Defendant’s Memorandum In Support Of

           Motion For Leave To File Under Seal.

           WHEREFORE, and for all of the foregoing reasons, the Defendant respectfully

       request that the relief sought herein be granted and for such other and further relief as the

       Court deems just and appropriate.


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                                             Respectfully submitted,

                                             ROSENBLUM, SCHWARTZ AND FRY, PC



                               By:           /s/ Gregory N. Wittner
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                              CERTIFICATE OF SERVICE


       I hereby certify that on June 25, 2021 the foregoing was electronically filed with the
Clerk of the Court to be served by operation of the Courts electronic filing system.




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